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 5

 6
                           UNITED STATES DISTRICT COURT
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8

 9                                             ) NO. 07-cr-00248-WBS-7
     UNITED STATES OF AMERICA,                 )
10                                             )
                  Plaintiff-Appellee,          ) ORDER MODIFYING ORDER RE:
11                                             ) COPIES OF TRANSCRIPTS OF
           vs.                                 ) SEALED PROCEEDINGS
12                                             )
     ALVARO COBIAN GOMEZ,                      )
13                                             )
                  Defendant-Appellant.         )
14                                             )
15

16

17                                         ORDER
18

19

20         GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
21   that the order of this Court filed May 28, 2014 is modified to delete the last
22   sentence of the order and substitute the following:
23                Copies of the transcripts shall be provided to counsel for
24                the United States if they are referenced by the defense in
25                one or more of its briefs in the appeal. If the transcripts
26                are not referenced in the briefs but counsel for the United
27                States believes the transcripts are for some other reason
28                relevant to an issue raised in the defense briefs, counsel
         Case 2:07-cr-00248-WBS-DB Document 1293 Filed 06/03/14 Page 2 of 2



 1              for the United States may apply for an order that he be
 2              provided with copies of the transcripts.
 3

 4        IT IS SO ORDERED.
 5   Dated: June 2, 2014
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